      Case 4:17-cv-01618 Document 37 Filed in TXSD on 05/25/18 Page 1 of 2



                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION


DISH NETWORK, L.L.C.,              )
                                   )                   Civil Action No. 4:17-cv-01618
             Plaintiff,            )
                                   )
      v.                           )
                                   )
SHAHJAHAN DURRANI, d/b/a/ Zem TV, )
and ADAM LACKMAN, d/b/a            )
www.tvaddons.ag, www.tvaddons.org, )
www.streamingboxes.com, and        )
www.offshoregit.com,               )
                                   )
             Defendants.           )


 SUPPLEMENT TO ATTORNEY ERIN K. RUSSELL’S MOTION TO WITHDRAW AS
                COUNSEL FOR SHAHJAHAN DURRANI

       COMES NOW Attorney Erin K. Russell, counsel for Defendant Shahjahan Durrani, and brings

this Motion to Withdraw as Counsel pursuant to L.R. 83.2, and requests that the Court grant this motion

and permit her to withdraw as counsel for Defendant Durrani, showing the Court as follows:

       On May 18, 2018, the undersigned filed her Motion to Withdraw as counsel to Defendant

Shahjahan Durrani. [ECF No. 34]. On May 24, 2018, counsel received notice from the Clerk of Courts

requesting that she supplement her motion with contact information for Defendant Durrani.

       The undersigned attempted to obtain the requested information from Durrani. Durrani has

declined to provide the requested information. [Ex A, Declaration of Erin K. Russell]. The undersigned

has provided Defendant with copies of her Motion to Withdraw, Plaintiff’s Motion for Entry of Default,

and the Clerk’s Default. [Ex A]. Durrani expressly authorized the undersigned to attach as an Exhibit

to her Declaration a copy of his email refusing to provide the requested contact information.

       WHEREFORE, the undersigned respectfully requests that the Court grant this motion and enter

an order permitting her to withdraw as counsel for Mr. Durrani in this matter.
    Case 4:17-cv-01618 Document 37 Filed in TXSD on 05/25/18 Page 2 of 2




                                                   Respectfully submitted,


                                                   THE RUSSELL FIRM, LLC
                                                   1519 W. Haddon Avenue, Suite D
                                                   Chicago, Illinois 60642
                                                   Telephone: (312) 994-2424
                                                   Facsimile: (312) 706-9766


                                                   /s/ Erin K. Russell
                                                   Erin K. Russell
                                                   Illinois ARDC Number 6287255
                                                   Admitted Pro Hac Vice
                                                   Email: erin@russellfirmchicago.com

                                                   ATTORNEY FOR DEFENDANT
                                                   SHAHJAHAN DURRANI



                                CERTIFICATE OF SERVICE

        This is to certify that on May 25, 2018, this document was filed with the Court via
the CM/ECF electronic filing system, thereby serving it upon all counsel of record. A copy
has also been served upon Shahjahan Durrani via email at shahjahandurrani@hotmail.com.

                                                    /s/ Erin K. Russell




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